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                           Exhibit E
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               IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                       FORT MYERS DIVISION

  DAVID SCHWARTZ,

         Plaintiff,
                                     CASE NO. 2:21-cv-283-SPC-MRM
  v.

  ADP, LLC, and
  AUTOMATIC DATA PROCESSING, INC.

       Defendants.
  ________________________________________/

            PLAINTIFF’S ANSWERS TO INTERROGATORIES
              PROPOUNDED BY DEFENDANT, ADP, LLC.

           Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil

   Procedure, Plaintiff, DAVID SCHWARTZ (“Schwartz” or “Plaintiff”)

   hereby serves his answers to the following Set of Interrogatories

   propounded by Defendant ADP, LLC. (“Defendant”) on March 4,

   2022.

         PLAINTIFF’S ANSWERS TO FIRST INTERROGATORIES

       1. Relative to the documents you produced, SCFED000238-253,
       state (a) from where, or from whom, you obtained this document
       and (b) the date you obtained this document.

       ANSWER: SCFED000238-253 was first sent to Schwartz by
       Dean Gross on May 22, 2015 to Schwartz’s personal email
       address, dschwartz456@yahoo.com. The same document was
       subsequently sent to Schwartz by Bret DiGiacomo on August
       31,   2016    to   Schwartz’s  personal    email  address,
       dschwartz456@yahoo.com.
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    2. Identify (a) any iPad or iPhone (“iOS Devices”) in your possession
    or control from July 18, 2018 to the present by color, model
    name/number, serial number, and IMEI and (b) dates when you
    possessed or controlled those iOS devices.

    ANSWER: Objection. Not limited in scope. Overbroad. Seeks
    information for devices that have not been identified as being
    hacked or at issue in this litigation. All at-issue devices have
    been identified and previously provided by Plaintiff.


    3. For each iOS Device, state (a) whether AirWatch, InTune, or any
    other mobile device management software (collectively, “MDM
    Software”) was installed on those devices while in your possession
    or control and (b) the dates that any MDM
    Software existed on each of the iOS Devices.

    ANSWER: While employed by ADP, Schwartz was required to
    install ADP’s MDM software on his personal cellular devices.
    One of which was VMware’s AirWatch. Schwartz doesn’t recall
    the exact dates he was required to install ADP’s MDM software.
    Schwartz was also not aware that by doing so gave ADP the
    right to see, monitor and access the information, data,
    communication, activity, pictures, and/or videos on his
    personal cellular devices. Nor was Schwartz ever provided a
    disclosure to sign or acknowledge granting ADP the right or
    permission to have access to, monitor, or view the
    information, data, communication, activity, pictures and/or
    videos on his personal cellular devices. Defendants should
    have the requested information regarding dates and MDM
    Software it had installed on Schwartz’s mobile devices.


    4. Relative to paragraphs 108 and 161 of the TAC, identify the
    specific “electronic communications” which you contend that the
    Defendants unlawfully accessed.

    ANSWER: Text message from David Schwartz to Nate Webb and
    Attorney Client communications relating to arbitration in ADP
    vs David Schwartz, 2019-CA-003479.


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     5. Relative to paragraphs 116, 138, 169, and 191 of the TAC,
     identify the specific “communications” which you contend that the
     Defendants unlawfully intercepted contemporaneously with their
     transmission.

    ANSWER: Text message from David Schwartz to Nate Webb and
    Attorney Client communications relating to arbitration in ADP
    vs David Schwartz, 2019-CA-003479.


   Dated: May 4, 2022.

                              RULE 26 CERTIFICATION

         The undersigned (Robert H. Goodman, Esq. of Parrish & Goodman, PLLC,

  13031 McGregor Blvd., Suite 8, Ft. Myers, Florida           33919, (813) 643-4529

  rgoodman@parrishgoodman.com) certifies, to the best of his knowledge,

  information, and belief formed after a reasonable inquiry that these discovery

  Responses are complete and correct as of the time it is made; consistent with the

  Federal Rules of Civil Procedure; are warranted by existing law (or are warranted

  by a non-frivolous argument for extending, modifying, or reversing existing law or

  for establishing new law); are not interposed for any improper purpose; and are

  neither unreasonable nor unduly burdensome or expensive, considering the needs

  of the case, prior discovery, amount in controversy, and the importance of the issues

  at stake in the action.

  /s/ Robert H. Goodman
  Counsel for David Schwartz
  Florida Bar No.: 1008059
  13031 McGregor Blvd., Suite 8
  Fort Myers, Florida 33919
  Primary Phone: (813) 643-4529
  Secondary Phone: (239) 218-0799
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  Facsimile: (813) 315-6535
  Primary: rgoodman@parrishgoodman.com
  Secondary: admin@parrishgoodman.com


                       CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing
  was    served via   email   to    counsel   for   Defendant      to
  Mruiz@mcdonaldhopkins.com       Chopkins@mcdonaldhopkins.com
  and Cdistel@mcdonaldhopkins.com, on this 10th day of May, 2022

                                     /s/Robert H. Goodman
                                      Attorney




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